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    Michael Siegel

    From:      <MToberoff@aol.com>
    To:        <msiegel@core.com>
    Sent:      Saturday, November 17, 2001 8:24
    Attach:    Marc Toberoff references.rtf
    Subject:   Your Rights
    Privileged & Confidential

    Michael:

    I am very glad to have located you, which wasn't easy since there are about
    2,000 Michael Siegels in the US. Please be assured that I am contacting you
    about a very important and confidential matter.

    I am an intellectual property attorney (admitted to both the New York and
    California Bars) who specializes in upholding the rights of creators and
    their heirs in entertainment properties. If you provide me with a fax number
    I can fax (or FedEx if you prefer) some articles on me in the New York Times,
    Variety and The Hollywood Reporter.

    Based upon my research I am absolutely convinced that you retain important
    rights with respect to your father Jerome Siegel's work, including Supennan.
    This is true, in addition to or notwithstanding whatever will or estate your
    father may have left.

    As a preliminary matter, have you signed (or have you been asked to sign)
    anything regarding such rights? If so, depending on the circumstances, such
    documents may not necessarily prevent or preclude your future rights, and it
    would be worthwhile to examine this issue more closely.

    I am willing to work "on spec" on a purely success driven basis to help you
    to receive the full benefit of your rights. That is, I would charge no hourly
    legal fees and I would pay all out-of-pocket costs involved. This is how I
    normally work so my clients have no risk from fully investigating, analyzing
    and enforcing their rights. I normally achieve very beneficial results this
    way.

    I have attached a list of references of people who I believe were simialrly
    situated to you whom I represented very successfully. Feel free to contact
    them.

    Even if you believe you own no rights, or even if you think you have signed
    them away in prior dealings I sincerely hope you look into this a bit further
    with me. It certainly will do harm to contact me, discuss the matter and get
    a fresh perspective of your situation (without any cost to you).

    I don't mind communicating by e-mail, but initially we should meet and
    discuss the situation over the phone. It will give you a better sense of who
    I am and hopefully a better understanding and greater sense of security with
    respect to this matter.

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I welcome the opportuhity to speak with you at your earliest convenience. The
best number is (310) 589-5151 or you can always try my mobile phone: (310)
989-0920. My fax is (310) 589-5152.

I will hold all our communications as strictly privileged and confidential
and would hope that you would do the same for me.

Marc toberoff




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         Marc Toberoff references:

         1.    Mike Ralston, son of Gilbert Ralston, (deceased)
         writer/creator of "The Wild Wild West" (re: rights dispute with
         CBS and Warner Bros.):      (843) 883-3811

         2.   Joe Swerling, Jr., son of the famous Joe Swerling (wrote the
         book for "Guys & Dolls," etc.): (323) 856-7350.

         3.    Rocky Kalish, co-writer of "Gilligan's Island'' pilot
         (represented in dispute against the other co-writer/co-creator):
               (818) 384-2998

         4.    Steve Pirosh, son of Robert Pirosh (deceased) prolific
         writer/creator of TV series "Combat!" and Marx Brothers' movies,
         etc.:       (805) 542-7746

         5.  Roy Huggins (creator of The Fugitive, The Rockford Files,
         Maverick, etc.): (310) 476-7892.




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                                        Laura Siegel Larson
                                      6400 Pacific Avenue #106
                                      Playa Del Rey, CA 90293

                                            November 2, 2002

   Michael Siegel
   3605 Bendemeer Rd.
   Cleveland Heights, Ohio 44118

   Dear Michael,

           Thank you for your very nice letter of October 2Dd. I truly appreciate your understanding
   of the difficulty of my divorce. You did not mention how your mother is doing. I hope that
   means she has improved and is home with you again.

            This has been a very busy month involving various aspects of the Superman and
   Superboy rights. Enclosed you will find a copy of a letter my mother and I have sent to Lillian
   Laserson, the General Counsel ofDC Comics and Roger Zissu and Carol Simkin ofDC's outside
   law firm, Fross Zelnick Lerhman & Zissu, P.C. Under the terms of the Tolling Agreemen~ these
   letters had to be sent at the conclusion of negotiations with DC so that the Tolling Agreement is
   tenninated as well.

           We were shocked by the change of attitude we saw in Bruce Ramer and Kevin Marks
   from the time we retained them to recent months. In the beginning they appeared to be very
   much on our side, determined to get justice for us and they vowed to work hard for us in
   negotiations versus DC and AOL Time Warner. Toward the end of2001, there was a shift.
   They started pressuring us to lower our expectations and to take an offer we did not want. They
   increasingly seemed to be siding with DC against our interests. We never made any outright
   acceptance of the DC deal. Kevin tried to scare us by saying if we didn't take DC' s "final offer"
   they'd probably sue us.                                            .-.
                                                        . .:.··

           Between February and May of this year we became so dissatisfied with their
   representation and the revolting offer from DC that we asked for a meeting with Kevin on May
   22ad planning to fire them then and there. In the meeting, we decided to give Kevin one last
   chance. He wanted to redraft DC 's February t• proposal along the lines of the last discussion he
   had had with John Schulman. We gave Kevin conditional permission to do just that but it was
   not to be sent out if we did not approve of it As you know it was unacceptable and we fired
   Gang, Tyre, Ramer & Brown and notified DC, etc. that negotiations were over.

          That terrible letter from Kevin in which he threatened to testify against us if called into
   court was the last straw. We are glad to be rid of them.

           It came as quite a surprise to my mother and me that everyone but us--Arthur Levine,
   Kevin Marks, you, and Don Bulson-knew about the interest of Marc Toberoff and Ari
   Emmanuel in the properties as far back as 2001 and no one ever mentioned it to us until Kevin's
   Jetter of August, 2002. It was very interesting to hear from you that you and Don Bulson were
   contacted in Nov., 2001. It's a shame that Kevin kept them from contacting us and that he did




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         not inform us of them or their offer until August 2002.

                 My mother and I have had extensive meetings with Toberoff and Emmanuel in the past
         few weeks. We learned that due to the delays and the misinformation Kevin had given them that
         there was a deal with DC, the billionaire investor who was offering $15 million up front plus
         participation thought it was a hopeless situation and invested his money elsewhere. We were
         very impressed with Toberoff and Emmanuel, however, and have signed them as our new
         representatives. Not only do they have a first band knowledge of the real value of properties that
: -
         are adapted to TV and film. it is possible that the top talent that Emmanuel's Endeavor Agency
         represents (top stars, directors, producer-writers) could be successfully packaged with Siegel
         properties. They have other ideas as well. In addition, Toberoff, the attorney, has a successful
         track record of representing creator-writers and their heirs who have been screwed by the studios.
         This makes them a good fit with Superman and other Siegel creations. They consider DC's last
         offer to us ridiculous. They are currently putting together a strategy that will be much more
         aggressive than anything that Marks or Ramer ever did. We are hopeful that they will bring
         matters to a satisfying conclusion.

                 I now have two new divorce lawyers and my ex is continuing to represent himself. He
         doesn't care how much this costs me or that it's taking money away from the children. The latest
         on that front is that he didn't like a ruling the judge made in my favor by extending the
         restraining order against him. So he's taking it to the Court of Appeals and trying to get it
         dismissed on a technicality. This is, of course, time consuming, upsetting and very expensive.

                I have boxes and boxes of divorce, copyright and financial paperwork everywhere in my
        small place--even all over my bed-including the ~rds of Superman expenses I xeroxed for
        you a long time ago. When my ceilings had to be ripped out and replaced, and I had to pack
        things up and move out for awhile, things got even harder to locate. As soon as I find the papers
        that pertain to you, I'll put them in the mail along with my mother'~

                I hope you will Stay weii a8 the v,:;;ther 'c~ges-and tlud the increa8ing cold·d~n't
        make your arthritis act up. We're all sick here. I've had a throat and sinus infection for three
        weeks now. The antibiotics I've taken haven't worked and I have a lot of pounding headaches.
        I'm also having a flare~up of my Multiple Sclerosis with increased numbness and tingling. I fell
        down three times in the last few days, once onto a pile of carton boxes. I also suffer from chronic
        fatigue and need rest badly. My mom has bronchitis, Michael's asthma has been bothering him
        and James fractured his wrist playing flag football. His cast just came off this week. Here's
        hoping it won't be a bad winter and we'll all be better soon.

                Best wishes for the holidays,



                Laura




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                                                                                                      LAURA SItGELLARSON
                                                                                                      640ClPACIFlC AVE~J} 1#104
                                                                                                      PLAYA DEL REY,CA 90293
                                                                                                            (310) 827-8136
                                                                                                          FAX (310)827..7211
                                                                                                             Novemb~r ',~OB2


                                                                                                      FAX TRANSMITTAL
                        TO;                                     Man) Toberoft'
                        FAX#:                                   (310) %46-3101
                        :FROM:                                  Llun" Siegel Larson and Joanne Stelel
                        PHONE:                                  (310) 82'..81.36

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                        MESSAGE:

                        DearMar~,

                       Attached, for your r"ord., please find the Kevin Marla ttlemool August g, 2D02~
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                       contact with hfmhad been in '8te2001. thiIlAul'l_t,20D2Ietfer wa' the first time he
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                       Please note that we hadbeeD unhappy witll. the representation that the Ramer firm
                       had been gfvtDgllI.forlometilDe•. WeweattoameetinlatKevin'l·oft1cetra
                       May, 2002 prepared to terminate tbem uour repr••n.hltWes. At that.able
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                       not accept thllFebl1Jary 1,%002 DC proposed ·contrador a redraft that he want_
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                                                      Micbael Siepl
                                                   3605 Bead..... lld.
                                              Cleveland HBiabtJ, Ohio 44111
                                                                                                 May 13,2003
             Dear Laura,

             TbIIIk you fin" your letter of November 2 oflMtyear. I would hive wrlttea SOOMr but 1have
             endured much MdJIess. My mother pallid away last year _ t JIIII pmicu1at1y MddeMd by her
             not havina been able to Iftjoy lome of the money due Ui ttom DC Comica and ~me WIII'Mt.
             I reilly willl to dDoua Marc ToberofE I IeImed tom Madcladllammer tMt MIra wu tbJI
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                                              ClevcIand.:Heights. Ohio 44111
                                                                                                 May 13, 2003

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